9 F.3d 977
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Roy G. HOLLINGSHEAD, Claimant-Appellant,v.Jesse BROWN, Secretary of Veterans Affairs, Respondent-Appellee.
    No. 93-7051.
    United States Court of Appeals, Federal Circuit.
    July 14, 1993.
    
      Before RICH, Circuit Judge, COWEN, Senior Circuit Judge, and SCHALL, Circuit Judge.
      ON MOTION
      RICH, Circuit Judge.
    
    ORDER
    
      1
      The Secretary of Veterans Affairs moves to waive Fed.Cir.R. 27(e) and to dismiss Roy G. Hollingshead's appeal.  Hollingshead has not filed a response.
    
    
      2
      Hollingshead seeks review of an order of the Court of Veterans Appeals summarily affirming a Board of Veterans Appeals decision.  The Board refused to reopen Hollingshead's claim for service-connection for seizure and psychiatric disorders.  Hollingshead challenges only factual determinations or the application of a law or regulation to his claim.  No issue is raised that falls within the limited jurisdiction of this court under 38 U.S.C. Secs. 7292(c), (d)(1)-(2) (Supp.  III 1991).  See Livingston v. Derwinski, 959 F.2d 224 (Fed.Cir.1992).
    
    
      3
      Accordingly,
    
    IT IS ORDERED THAT:
    
      4
      (1) The Secretary's motion to waive Fed.Cir.R. 27(e) is granted.
    
    
      5
      (2) The Secretary's motion to dismiss is granted.
    
    
      6
      (3) Each side shall bear its own costs.
    
    